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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI


IN RE: JAMIE W. WREN                                          CHAPTER 13

DEBTOR                                                        CASE NO. 18-14948-JDW


                WITHDRAWAL OF OBJECTION TO SECURED CLAIM

       COMES NOW, Jamie W. Wren, Debtor, by and through counsel, and files this

Withdrawal of Objection (Dkt. #17) to the Secured Claim filed by 21st Mortgage Corporation

(Claim #5). The document was mistakenly filed as an Objection to Secured Claim.

       This the 22nd day of February, 2019.

                                    /s/Karen B. Schneller
                                    KAREN B. SCHNELLER, MSB 6558
                                    ROBERT H. LOMENICK, JR., MSB 104186
                                    SCHNELLER & LOMENICK, P.A.
                                    126 NORTH SPRING STREET
                                    POST OFFICE BOX 417
                                    HOLLY SPRINGS, MS 38635
                                    662-252-3224/karen.schneller@gmail.com
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                                  CERTIFICATE OF SERVICE

          I, Karen B. Schneller/Robert H. Lomenick, attorney for the Debtor, hereby certify that a
copy of the foregoing Notice of Objection to Claim and Objection to Claim has this day been
served upon the Chapter 13 Trustee, the U.S. Trustee and Mississippi Department of Revenue,
either by electronic means or by United States Mail.

21st Mortgage Corporation
P.O. Box 477
Knoxville, TN 37901

Ms. Locke D. Barkley
Chapter 13 Trustee
6360 I-55 North, Suite 140
Jackson, MS 39211

Office of U.S. Trustee
501 East Court Street, Suite 6-430
Jackson, Mississippi 39201

                                 This the 22nd day of February, 2019,

                                  /s/Karen B. Schneller
                                  KAREN B. SCHNELLER
                                  ROBERT H. LOMENICK
